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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

United States of America,                   )     Case No.: 3:14CR273
                                            )
               Plaintiff,                   )     Judge James G. Carr
       v.                                   )
                                            )
David Barrera, Jr.,                         )     PRELIMINARY
                                            )     ORDER OF FORFEITURE
       Defendant.                           )
                                            )

       WHEREAS, August 19, 2014, a 55-count indictment was filed charging defendant and

others with violations of, inter alia, 21 U.S.C. §§ 841(a)(1) and 846, possession with intent to

distribute, and conspiracy to possess with intent to distribute narcotics. (R. 1: Indictment).

       AND WHEREAS, the indictment further sought the forfeiture, pursuant to 21 U.S.C. '

853, of all property constituting or derived from any proceeds obtained directly and indirectly as

a result of the offenses charged, and any and all property used or intended to be used in any

manner or part to commit and to facilitate the commission of the violations alleged in the

indictment, including but not limited to funds in financial accounts, vehicles, real property, and

personal property, which property afforded defendants a source of influence over the enterprise

which the defendants established, operated, controlled, and conducted and participated in the

conduct of, in violation of 21 U.S.C. §§ 841(a) and 846, as set forth in Counts 1 through 36 and

40 through 55, as property constituting and derived from proceeds which the above-listed
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defendants obtained, directly and indirectly, from the illegal trafficking activity charged.

       AND WHEREAS, on May 28, 2015, defendant DAVID BARRERA, JR. entered a plea of

guilty to Count 1, conspiracy to possess with intent to distribute heroin, cocaine, and marijuana, a

violation of 21 U.S.C. §§ 841(a)(1) and 846.

       AND WHEREAS, on May 28, 2015, defendant DAVID BARRERA, JR. signed a plea

agreement agreeing to waive all interest in the below-described property in any administrative or

judicial forfeiture proceedings. (R. 307: Plea Agreement).

       Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED:

       1. That based upon the guilty plea of defendant DAVID BARRERA, JR., the United

States is hereby authorized to seize the subject property listed below:

          a.   a 2005 Black Chrysler 300, VIN: 2C3JA63H15H103361 seized from a
               residence on Roanwood Street in Toledo, Ohio

and such asset is hereby forfeited to the United States for disposition in accordance with law,

subject to the provisions of 21 U.S.C. § 853(n)(1).

       2. That the above forfeited asset is to be held by the United States Marshals Service and

the FBI, in their secure custody and control.

       3. That pursuant to 21 U.S.C. § 853(n)(1), the United States will publish on an official

government internet website (www.forfeiture.gov) for at least 30 consecutive days, notice of the

Court’s Order and the United States’ intent to dispose of the subject asset in such manner as the

Attorney General may direct, pursuant to 21 U.S.C. § 853(n), and notice that any person, other

than the above-named defendant, having or claiming a legal interest in the forfeited asset listed

above, must file a petition with the Court within sixty (60) days of the initial publication of

notice or of receipt of any actual notice, whichever is earlier.

       4. This notice shall state that the petition shall be for a hearing to adjudicate the validity

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of the petitioner’s alleged interest in the forfeited asset listed above, shall be signed by the

petitioner under penalty of perjury, and shall set forth the nature and extent of the petitioner’s

right, title or interest in the forfeited asset listed above, and any additional facts supporting the

petitioner’s claim and the relief sought.

        5. The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in the forfeited subject asset listed above, as a

substitute for published notice as to those persons so notified; and

        6. That upon adjudication of any and all third party interests, this Court will enter a

Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n).


                               30th
                ORDERED this _________           June
                                       day of __________________, 2015.




                                                   s/James G. Carr
                                                ___________________________________
                                                UNITED STATES DISTRICT JUDGE




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